                                                        Entered on Docket
                                                        March 19, 2015
                                                        EDWARD J. EMMONS, CLERK
                                                        U.S. BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA


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 3
     305 Lytton Avenue                              The following constitutes
     Palo Alto, CA 94301                            the order of the court. Signed March 19, 2015
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15
     TECHNOLOGY PROPERTIES LIMITED LLC
16
                             UNITED STATES BANKRUPTCY COURT
17
                             NORTHERN DISTRICT OF CALIFONRIA
18                                   SAN JOSE DIVISION

19   In re:                                               Case No.: 13- 51589SLJ

20   TECHNOLOGY PROPERTIES LIMITED,                       Chapter 11
     LLC, a California limited liability company,
21                                                        Date: February 11, 2015
                                        Debtor.           Time: 10:00 a.m.
22                                                        Place: Courtroom 3099
                                                                 280 South First Street
23
                                                                 San Jose, California
24

25                   ORDER CONFIRMING JOINT PLAN OF REORGANIZATION BY
                   OFFICIAL COMMITTEE OF UNSECURED CREDITORS AND DEBTOR
26
                                  (DATED JANUARY 8, 2015)

27
     ORDER CONFIRMING PLAN                                                                          Page 1
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 1          On February 11, 2015, the Court held a hearing on confirmation of the Joint Plan of
 2   Reorganization By Official Committee Of Unsecured Creditors and Debtor (Dated January 8,
 3   2015) (the “Plan”) filed by debtor Technology Properties Limited, LLC (“TPL”) and the Official
 4   Unsecured Creditors’ Committee. Robert G. Harris, Esq. of Binder & Malter, LLP appeared for
 5   TPL. Robert A. Franklin of Dorsey & Whitney LLP appeared for the Official Unsecured
 6   Creditors’ Committee. Other appearances were noted on the record.
 7          It having been determined after a hearing on notice that (i) the Plan and the Disclosure
 8
     Statement Re: Joint Plan Of Reorganization By Official Committee Of Unsecured Creditors
 9
     And Debtor (January 8, 2015) (the “Disclosure Statement”) have been transmitted to creditors
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     and equity security holders; (ii) the requirements for confirmation set forth in 11 U.S.C. §1129(a)
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     have been met; and (iii) the proposed modification to the Plan rejecting the One Beacon
12
     insurance contract is neither material nor adverse to any creditor or class of creditors under the
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     Plan; and (iv) all objections having been overruled or resolved, and good cause appearing
14
     therefor, IT IS THEREFORE ORDERED that
15

16          1.      The Plan be and hereby is confirmed.

17          2.      The following modifications to the Plan be and hereby are approved as neither

18                   material nor adverse:

19                  a.   The definition of “Released Parties” is to be narrowed by removing the words
20                       “and any and all entities wholly-owned or partially owned by Leckrone” from

21                       the Plan [Plan, 14:20-21] so that only the persons and entities actually named

22                       in the Plan are included within the definition. The following persons and

23                       entities covered by the deleted language are added at the end of that

24                       paragraph: Daniel E. Leckrone, HSM Portfolio LLC, MCM Portfolio LLC,

                         Chipscale, Inc., IntellaSys BEC Ltd., Fountainhead IP LP, Gee Pee LLC, the
25
                         Daniel E. and Helena M. Leckrone Revocable Trust, the Helena Leckrone
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 1                    Exempt Bypass Trust, the Helena Leckrone Non-Exempt Bypass Trust, the
 2                    Helena Leckrone QTIP Trust, the Leckrone Family Children Trusts and the
 3                    Leckrone Family Grandchildren Trusts.

 4              b.    TPL’s policy with One Beacon American Insurance Company is removed

 5                    from the list of contracts assumed as one of “the Debtor’s Insurance Policies”

 6                    [Plan 42:23-24] and added to the list of contracts rejected under the Plan.

 7
                c. The Plan is modified to state that “[i]n the event of a conflict between the Plan

 8                    and the TPL operating agreement, as it may be amended, supplemented or

 9                    restated, the terms of the Plan will control.”

10              d. The claim of Marcie and Chet Brown aggregating $10,021,511 is an Allowed

11                    Claim in the respective allocations of Classes 6A, 6B and 6C to which no
12
                      objection can be made.
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                e. The Mutual Release attached as Exhibit “E” to the Plan is deleted from the
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                      Plan, as well as all references to “Release” contained therein. No party is
15
                      required to execute the Mutual Release
16
                f. The Plan is modified to state that TPL forthwith shall dismiss the appeal of the
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                      judgment in Chester A. Brown, Jr. and Marcie Brown v. Technology
18
                      Properties Limited LLC et al., Superior Court of California, County of Santa
19

20                    Clara Case No. 1-09-CV-159452.

21              g. Exhibit “F” to the Disclosure Statement is modified to delete the introductory

22                    paragraph.

23              h. The liens and claims of the Released Parties shall remain subordinated as set
24                    forth in the Plan notwithstanding any subsequent conversion of the case to
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 1                      Chapter 7 and so long as the estate’s release of the Released Parties remains
 2
                        effective.
 3
                    i. In Article XI of the Plan at paragraph D., page 54, line 23, the words
 4
                        "applicable law" are deleted and replaced with "Bankruptcy Code section
 5
                        1125(e)." Further, the words “the consummation of the Plan, or the
 6
                        administration of the Plan" are deleted from the same paragraph at page 55,
 7
                        lines 6-7.
 8
            3.      This Order incorporates Article XIV of the Plan in its entirety, together with the
 9

10                   definitions used herein, as set forth in Appendix A to this Order. Whether or not

11                   any IP Owner objects to or supports the Plan, or votes for or against the Plan, the

12                   Confirmation Order will prevent such IP Owner from defeating, violating or

13                   disputing any of the Licensees’ rights, licenses, interests, defenses or other
14                   benefits under such parties’ respective Licenses or said Article XIV.
15
     APPROVED AS TO FORM:
16
     MICHELSON LAW GROUP
17

18
     By: /s/ Randy Michelson
19           Randy Michelson

20   Attorneys for Chet and Marcie Brown
21
     SEDGWICK LLP
22

23
     By: /s/ Lillian G. Stenfeldt
24            Lillian G. Stenfeldt

25   Attorneys for Sony Corporation

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 1

 2
     FRIEDMAN & SPRINGWATER LLP
 3

 4

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               Ellen A. Friedman
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     Attorneys for Hewlett Packard Company
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     MORRISON & FOERSTER LLP
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 9

10   By: /s/ Kristin A. Hiensch
             Kristin A. Hiensch
11
     Attorneys for:
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            Apple Inc.
13          Blackberry Limited
            DIRECTV, LLC
14          Fujitsu Limited
            Mattel, Inc.
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            NEC Corporation
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            Nikon Corporation

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                                            APPENDIX A

               XIV. OVERRIDING PROTECTIONS FOR LICENSEE PARTIES
        A.       Scope and Intent of This Article. As a means of addressing the Licensee

Objectors’ concerns and objections, this Article is included to effectuate the parties’ intent to

eliminate any adverse effects or prejudice of the Plan or Confirmation Order on the Licensees’

Licenses, claims, rights, interests and defenses. This Article XIV shall apply comprehensively to

preserve all Licensees’ rights, licenses, claims, interests and defenses, as described herein,

notwithstanding any other provision of the Plan or the Confirmation Order or the operation of the

Bankruptcy Code. To the extent any direct or indirect conflict exists between this Article and

any other provision of the Plan or Confirmation Order, this Article shall control. As used in this

Article, the terms “rights,” “claims,” “interests” and “defenses” shall be used in their broadest

and most comprehensive senses. Nothing herein shall expand or change the terms or scope of

any License or allow any transfer of any right or interest under any License beyond what is

permitted under such License.

        B.        Confirmation Order. The Confirmation Order shall incorporate and reaffirm

this Article XIV in its entirety, together with the definitions used herein. Whether or not any IP

Owner objects to or supports the Plan, or votes for or against the Plan, the Confirmation Order
shall prevent such IP Owner from defeating, violating or disputing any of the Licensees’ rights,

licenses, interests, defenses or other benefits under such parties’ respective Licenses or this

Article XIV.

        C.       Amendments to Article XIV. This Article (and definitions used herein) shall not

be amended, modified or otherwise adversely affected, directly or indirectly, from other Plan or
Confirmation Order amendments, without the prior written consent of each affected Licensee

Objector and the IP Owners.

        D.       No Adverse Impact On Licenses. Notwithstanding any other provision of the

Plan or Confirmation Order, the Licenses, and the rights, claims, including offsetting or

recoupment claims, interests and defenses of each Licensee thereunder, shall ride through this


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Bankruptcy Case without rejection, prejudice or adverse effects of any kind, including on

account of Section 1141. All Licenses shall remain in full force and effect, and continue to be

valid, binding, and enforceable in accordance with their terms, against TPL, the Reorganized

Company, and all applicable IP Owners and their successors and assigns as if there had been no

Bankruptcy Case or Plan or Confirmation Order, and neither TPL’s reorganization nor exit from

bankruptcy shall affect such validity and enforceability of the Licenses.

        No act or omission of the Committee, TPL, estate representative, other proponent of any

confirmed plan of reorganization, or Reorganized Company (such as rejection of or failure to

assume any executory contract) changes, impairs, or has the effect of stripping or undermining,

whether by Section 1141 or otherwise, any rights, interests, claims, licenses, or defenses under

the Licenses that existed before or independent of the Bankruptcy Case, or that were executed prior

to the Effective Date. To the extent permissible by otherwise applicable law, the Confirmation

Order shall estop, enjoin, and bar the Committee, TPL, estate representatives, any other

proponent of any confirmed plan of reorganization, and the Reorganized Company, and each of

their respective successors and assigns, from taking any action to disrupt or otherwise invalidate

or challenge the Licenses and the Licensees’ rights, offsetting or recoupment claims, interests,

property or defenses thereunder. Nothing in the Plan or in the Confirmation Order shall be

deemed to restrain, enjoin, stay or otherwise obstruct the enforcement, exercise or defense by

any party to a License after the Effective Date of any of their licenses, rights, offsetting or

recoupment claims, interests, property or defenses.

        E.       No Change For Patent Actions. Notwithstanding any other provision of the

Plan or the Confirmation Order, the Plan and Confirmation Order shall have no effect on any

party’s rights, claims, including offsetting or recoupment claims, interests and defenses in any

patent action or other litigation that has been or may be filed.

        F.       Reserved Objections. Licensees may defend an attack of their Licenses on any

basis, including the protections afforded under this Article XIV, whether or not previously raised

by a Licensee. Furthermore, nothing in the Plan or Confirmation Order shall constitute a waiver


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by any Licensee of such party’s rights under Stern v. Marshall, 131 S. Ct. 2594 (2011), or

Bellingham Ins. Agency, Inc. v. Arkin (In re Bellingham Ins. Agency, Inc.), 702 F.3d 553 (9th

Cir. 2012), or subsequent precedents on this topic, to challenge the jurisdiction of the Bankruptcy

Court to issue a final judgment.

        G.       IP Owner Side Letters. The IP Owners have provided written confirmation and

consent, in substantially the forms of the side letters attached as Exhibit “D” to the Plan, which

are incorporated herein, confirming such IP Owner’s promise of non-disturbance of Licensees’

rights under their existing Licenses.


                                            DEFINTIONS

        As used in the Plan and this Addendum, the following terms shall have the respective

meanings specified below:

        “Bankruptcy Case” means the bankruptcy case styled In re Technology Properties,

Limited, LLC, Chapter 11 Case No. 13-51589-SLJ, pending in the Bankruptcy Court.

        “Bankruptcy Code” means title 11 of the United States Code and also includes

Sections 157, 158, 1334, 1408, 1412, and 1452 of title 28 of the United States Code, and any

amendments thereto to the extent applicable to this Bankruptcy Case.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Northern

District of California, San Jose Division, or such other court exercising jurisdiction over the

Bankruptcy Case.

        “Business Day” means a day, Monday through Friday, excluding all legal holidays (as

defined in Bankruptcy Rule 9006(a)(6).

         “Committee” means the Official Committee of Unsecured Creditors appointed by the

Office of the United States Trustee on March 28, 2013 consisting of Chester A. Brown, Jr. and


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Marcie Brown, Patriot Scientific Corp., Beresford & Co., Farella Braun & Martel, LLP, the

Estate of James Kirkendall and Dr. Zlatan Ribic GmbH.

        “Confirmation Hearing” means the hearing held by the Bankruptcy Court on

confirmation of the Plan as required by Section 1128(a) of the Bankruptcy Code.

        “Confirmation Order” means the Order confirming the Plan under Section 1129 of the

Bankruptcy Code.

        “Debtor” or “TPL” means Technology Properties Limited LLC, a California Limited

Liability Company.

        “Effective Date” means the later of (a) the first Business Day that is at least 30 days after

the entry of the Confirmation Order and on which no stay of the Confirmation Order is in effect,

including a stay pending appeal, or (b) the first Business Day on which the Reorganized

Company has sufficient cash to make all payments required under the Plan on the Effective Date;

provided, that notwithstanding any other provision of this Plan, the Effective Date shall not occur

until and unless Plan proponents file with the Bankruptcy Court executed versions of the IP

Owner Side Letters, referenced in Addendum A, Section G and set forth on Exhibit “D” to the

Plan, for the benefit of all Licensees.

        “IP Owners” means the owners of the MMP Portfolio, CORE Flash Portfolio, Fast

Logic Portfolio and Chipscale Portfolio licensed by TPL to Licensees, including without

limitation PDS, Patriot, Charles H. Moore, and MCM Portfolio LLC.

        “License” means each of the approximately 175 non-exclusive agreements granting

licenses of patent portfolios that were executed by TPL, PDS, Patriot Scientific, HSM Portfolio

LLC or MCM Portfolio LLC as licensor(s) prior to the filing of the Bankruptcy Case and any

agreements granting licenses of patent portfolios that were executed by TPL, PDS, Patriot



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Scientific, MCM Portfolio LLC or HSM Portfolio LLC as licensor(s) prior to the Effective Date,

in each case, as amended, modified, or supplemented from time to time whether by settlement

agreement, side letter or otherwise.

        “Licensee Objectors” means the parties identified in Exhibit “B” to the Plan, together

with each party’s successors and assigns. Licensees may become Licensee Objectors at any time

prior to the commencement of the Confirmation Hearing by notice to counsel for the Debtor and

the Committee.

        “Licensees” means the Licensee Objectors, together with any other party granted a

License on or before the Effective Date including those identified on Exhibit “B-2” to the Plan.

        “MMP Portfolio” means the Moore Microprocessor Portfolio.

        “Patriot” means Patriot Scientific Corporation.

        “PDS” means Phoenix Digital Solutions LLC.

        “Plan” means this JOINT PLAN OF REORGANIZATION by OFFICIAL COMMITTEE OF

UNSECURED CREDITORS AND DEBTOR (DATED JANUARY 8, 2015 ) including any modification(s)

thereof and/or amendment(s) thereto that comply with Section 1127 of the Bankruptcy Code and

Bankruptcy Rule 3019.

        “Reorganized Company” means the Debtor on and after the Effective Date.




                                      ***** END OF ORDER *****




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                                        COURT SERVICE LIST



** All ECF Recipients




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